             Case 2:07-cr-00460-EJG Document 63 Filed 07/10/08 Page 1 of 2


1    DANIEL J. BRODERICK, BAR #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANDY CHOY SAEPHAN
6

7

8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )       CR.S. 07-460-EJG
                                        )
12                    Plaintiff,        )
                                        )       STIPULATION AND ORDER TO
13        v.                            )       EXTEND AND EXCLUDE TIME
                                        )
14   ANDY CHOY SAEPHAN,                 )       DATE: August 15, 2008
                                        )       Time: 10:00 a.m.
15                  Defendant.          )       Judge: Edward J. Garcia
     ______________________________
16

17        Defendant ANDY CHOY SAEPHAN, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, and the
19   United States Government, by and through its counsel, PHILLIP A.
20   TALBERT, Assistant United States Attorney, hereby stipulate that
21   the judgment and sentencing set for July 11, 2008 be rescheduled
22   for Friday, August 15, 2008 at 10:00 a.m.
23        This continuance is being requested because defense
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

                                            1
              Case 2:07-cr-00460-EJG Document 63 Filed 07/10/08 Page 2 of 2


1    counsel requires additional time to review the presentence report
2    and discuss the report with the defendant.
3    DATED: July 9, 2008
4                                               Respectfully Submitted,
5                                               DANIEL J. BRODERICK
                                                Federal Defender
6

7                                               /s/ Dennis S. Waks
                                                DENNIS S. WAKS
8                                               Supervising Assistant Federal
                                                Defender for Defendant
                                                ANDY CHOY SAEPHAN
9

10   DATED:    July 9, 2008                     McGREGOR W. SCOTT
                                                United States Attorney
11

12                                              /s/ Dennis S. Waks for
                                                PHILLIP A. TALBERT
13                                              Assistant U.S. Attorney
14                                     O R D E R
15   SO ORDERED.
16   Dated: July 9,      2008
17

18                                               /s/ Edward J. Garcia
                                                EDWARD J. GARCIA
19                                              United States District Court
20

21

22

23

24

25

26

27

28

                                            2
